                              Case 2:20-cv-02246-RFB-BNW Document 69 Filed 06/08/23 Page 1 of 2



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                     7
                       Attorneys for Defendant,
                     8 Robertino Sazdov
                     9
                                                        UNITED STATES DISTRICT COURT
                    10
                                                             DISTRICT OF NEVADA
                    11
                    12
                            BRANDON MITCHELL, an individual,             )   Case No. 2:20-cv-02246-RFB-BNW
                    13                                                   )
                                               Plaintiff,                )   NOTICE OF CHANGE OF
                    14                                                   )   HANDLING ATTORNEY WITHIN-
                                     vs.                                 )   FIRM
                    15                                                   )
                            ROBERTINO SAZDOV, an individual,             )
                    16                                                   )
                                               Defendants.               )
                    17                                                   )
                            TO: ALL INTERESTED PARTIES; and
                    18
                            TO: ALL COUNSEL OF RECORD:
                    19
                                     Please take notice of the change of within-firm representation of the above-
                    20
                            referenced Defendant: Anthony T. Garasi, Esq. has previously made an appearance in
                    21
                            the above-entitled action, and he is no longer associated with this case. Madeline M.
                    22
                            Arcellana, Esq. is replacing Anthony T. Garasi, Esq. as the attorney of record for the
                    23
                            above-referenced Defendant
                    24
                            ///
                    25
                    26
                            ///
                    27
                    28
BREMER WHYTE BROWN &

     O’MEARA LLP

1160 N. Town Center Drive

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                            1800.378 4858-9357-7831.1
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                              Case 2:20-cv-02246-RFB-BNW Document 69 Filed 06/08/23 Page 2 of 2



                     1               and will be the attorney of record from this day forward.
                     2 Dated: June 7, 2023                             BREMER WHYTE BROWN & O’MEARA
                                                                       LLP
                     3
                     4
                                                                       By:
                     5                                                        Madeline M. Arcellana, Esq.
                                                                              Nevada State Bar No. 13816
                     6                                                        Laura E. Rios, Esq.
                                                                              Nevada State Bar No. 15990
                     7                                                        Attorneys for Defendant
                                                                              Robertino Sazdov
                     8
                     9                                                 ORDER
                                                                    IT IS SO ORDERED
                    10                                              DATED: 7:45 am, June 08, 2023

                    11
                                                                    BRENDA WEKSLER
                    12                                              UNITED STATES MAGISTRATE JUDGE

                    13
                                                             CERTIFICATE OF SERVICE
                    14
                                     I hereby certify that on this 7th day of June, 2023, a true and correct copy of this
                    15
                            document was served upon all parties by depositing in the United States Postal Mail,
                    16
                            First-Class postage, addressed as follows:
                    17
                    18
                             Jared R. Richards, Esq.
                    19       Dustin E. Birch, Esq.
                             Clear Counsel Law Group
                    20       1671 W. Horizon Ridge Pkwy, Ste. 200
                             Henderson, NV 89012
                    21       Attorneys for Plaintiffs
                    22
                    23
                                                                /s/ Brad Williams
                    24                                          Brad Williams
                    25
                    26
                    27
                    28
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